12-12020-mg         Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                               B Pg 1 of 27



 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS

 B. DEBT RECHARACTERIZATION

      1. Introduction

      AFI has asserted in the Chapter 11 Cases various claims against ResCap, RFC, and
 GMAC Mortgage, including claims of not less than $747 million under the A&R Secured
 Revolver Loan Agreement and $380 million under the A&R Line of Credit Agreement.1This
 Section examines whether certain of AFI’s claims against ResCap and its principal
 Subsidiaries, RFC and GMAC Mortgage, may be recharacterized as equity. If the AFI Secured
 Revolver Facility Claim and the AFI Line of Credit Agreement Claim were to be
 recharacterized as equity interests in ResCap, AFI would likely not receive anything on
 account of such interests. AFI, itself, has acknowledged that certain ResCap debt that it held
 may be vulnerable to recharacterization.2

      In a presentation to the Examiner, the Creditors’ Committee questioned whether the
 “debt” that was forgiven by AFI under the January 30 Letter Agreement should be properly
 characterized as equity.3 Under the January 30 Letter Agreement, AFI agreed to provide
 capital support to ResCap and GMAC Mortgage by forgiving $196.5 million of indebtedness
 under the A&R Line of Credit Agreement.4

      Wilmington Trust has asserted that Unsecured Notes and Senior Secured Notes in the
 aggregate face amount of $2.4 billion that were exchanged by AFI for, among other things,
 ResCap Preferred Interests in the 2008 Bank Transaction and ResCap’s remaining IB Finance
 Class M Shares as part of the 2009 Bank Transaction, should be recharacterized as equity.5
 Should the Unsecured Notes and the Senior Secured Notes be recharacterized as equity, their
 1   Although outstanding as of the Petition Date, another financing, the BMMZ Repo Facility terminated on
     May 16, 2012 in connection with the transactions consummated under the Barclays DIP Financing
     Agreement. See Section VI.E.9. AFI has asserted several additional claims in the Chapter 11 Cases including,
     with limitation, surety bond claims, FRB consent order obligations, DOJ/AG settlement obligations, claims
     related to shared services, litigation claims, tax claims, contract claims, and claims for subrogation, setoff,
     recoupment and insurance.
 2   See GMAC LLC Board Meeting, Support for Rescap [sic] LLC, dated June 10, 2009, at 3 [ALLY_0240200]
     (“There is some risk that any loan would be re-characterized as equity in a bankruptcy given [AFI’s] status as
     a lender of last resort under the doctrine of Debt Re-characterization.”); see also Ally Financial Inc.
     (Amendment No. 6 to Form S-1 (Apr. 12, 2012), at 60 (noting that “it is possible that other ResCap creditors
     would seek to recharacterize loans to ResCap as equity contributions or to seek equitable subordination of our
     claims”).
 3   See Kramer Levin Presentation to Hon. Arthur J. Gonzalez, Examiner, dated Oct. 18, 2012, at 10.
 4   Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan. 30, 2012
     [ALLY_0182747].
 5   Reply in Further Support of Wilmington Trust, National Association’s Submission to Arthur J. Gonzalez,
     dated Mar. 8, 2013, at 42–43.

                                                      VII.B-1
12-12020-mg          Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                B Pg 2 of 27




 transfer by AFI to ResCap as consideration for the 2008 Bank Transaction and the 2009 Bank
 Transaction would not have provided reasonably equivalent value6 and accordingly those
 transactions may be subject to avoidance on constructive fraudulent transfer grounds.

      2. Overview

      As a court of equity, a bankruptcy court is not bound by a party’s characterization of a
 transaction.7 A bankruptcy court may, where appropriate, acknowledge economic reality by
 recharacterizing debt as equity.8 “In a recharacterization analysis, if the court determines that
 the advance of money is equity and not debt, the claim is recharacterized and the effect is
 subordination of the claim ‘as a proprietary interest because the corporation repays capital




 6   The Examiner concludes that ResCap and its Subsidiaries RFC and GMAC Mortgage were balance sheet
     insolvent from December 31, 2007 through the Petition Date. See Section VI.A; Section VI.E. The equity of
     an insolvent enterprise is valueless and the transfer of such equity could not constitute reasonably equivalent
     value or fair consideration.
 7   See, e.g., Pepper v. Litton, 308 U.S. 295, 305 (1939) (noting that a bankruptcy court’s equitable powers “have
     been invoked to the end that fraud will not prevail, that substance will not give way to form, that technical
     considerations will not prevent substantial justice from being done”); see also Cohen v. KB Mezzanine Fund II,
     LP (In re Submicron Sys. Corp.), 432 F.3d 448, 456 (3d Cir. 2006) (noting “the characterization as debt or equity
     is a court’s attempt to discern whether the parties called an instrument one thing when in fact they intended it as
     something else”); In re Cold Harbor Assocs., 204 B.R. 904, 915 (Bankr. E.D. Va. 1997) (“This Court is not
     required to accept the label of ‘debt’ or ‘equity’ placed by the debtor upon a particular transaction . . . .”).
 8   See, e.g., Rockville Orthopedic & Sports Assocs., P.C. v. Kort (In re Rockville Orthopedic Assocs., P.C.), 377
     B.R. 438, 442 (Bankr. D. Conn. 2007) (citing Fairchild Dornier GMBH v. Official Comm. of Unsecured
     Creditors (In re Official Comm. of Unsecured Creditors for Dornier Aviation (N. Am.), Inc.), 453 F.3d 225,
     233 (4th Cir. 2006)). “Although the Second Circuit Court of Appeals has yet to address the issue, the Circuit
     Courts of Appeal that have considered it have all concluded ‘that the bankruptcy court has the power to
     recharacterize a debt as an equity contribution.’” Id.; see also Official Comm. of Unsecured Creditors v. Bay
     Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R. 112, 157 n.17 (Bankr. S.D.N.Y. 2009) (noting
     that “courts in this jurisdiction . . . have held that courts do have equitable power to recharacterize debt as
     equity”), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011).

                                                        VII.B-2
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 B Pg 3 of 27




 contributions only after satisfying all other obligations of the corporation.’”9 In general, a
 court may recharacterize a loan as equity if it determines that the parties intended the
 transaction to be an equity investment.10

       3. Legal Standards For Recharacterization

      Although similar in some ways to equitable subordination, recharacterization is different
 because it does not require a showing of inequitable conduct.11 “[W]hen both issues are raised,
 recharacterization should be considered first, because if a ‘particular advance is a capital
 contribution . . . equitable subordination never comes into play.’”12

        While courts have adopted a variety of recharacterization tests,

                     They devolve to an overarching inquiry: the characterization as
                     debt or equity is a court’s attempt to discern whether the parties
                     called an instrument one thing when in fact they intended it as
                     something else. That intent may be inferred from what the




 9    Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726, 749 (6th Cir. 2001). “To be a
      creditor in bankruptcy the debtor must owe a debt to the claimant. The issue is whether the claim is an
      indebtedness or whether it is a proprietary interest. If it is determined that the claim is a proprietary interest
      the claim will be subordinated, not equitably subordinated, as a matter of course since ‘the essential nature of
      a capital interest is a fund contributed to meet the obligations of a business and which is to be repaid only
      after all other obligations have been satisfied.’” Diasonics, Inc. v. Ingalls, 121 B.R. 626, 630 (Bankr. N.D.
      Fla. 1990) (citation omitted). “In a case in which a creditor has contributed capital to a debtor in the form of a
      loan, but the loan has the substance and character of an equity contribution, the court may recharacterize the
      debt as equity regardless of whether other requirements of equitable subordination have been satisfied.”
      Herzog v. Leighton Holdings, Ltd. (In re Kids Creek Partners, L.P.), 212 B.R. 898, 931 (Bankr. N.D. Ill.
      1997) (citation omitted), aff’d, 233 B.R. 409 (N.D. Ill. 1999), aff’d, 200 F.3d 1070 (7th Cir. 2000).
 10   The “overarching inquiry” in the recharacterization analysis is that “the characterization as debt or equity is a
      court’s attempt to discern whether the parties called an instrument one thing when in fact they intended it as
      something else. That intent may be inferred from what the parties say in their contracts, from what they do
      through their actions, and from the economic reality of the surrounding circumstances.” In re Submicron Sys.
      Corp., 432 F.3d at 456.
 11   See, e.g., In re Dornier Aviation (N. Am.), Inc., 453 F.3d at 232 (“While a bankruptcy court’s
      recharacterization decision rests on the substance of the transaction giving rise to the claimant’s demand, its
      equitable subordination decision rest on its assessment of the creditor’s behavior.”); see also In re AutoStyle
      Plastics, Inc., 269 F.3d at 748–49; Adelphia Commc’ns Corp. v. Bank of Am., N.A. (In re Adelphia Commc’ns
      Corp.), 365 B.R. 24, 74 (Bankr. S.D.N.Y. 2007) (noting that “recharacterization and equitable subordination
      analyses differ from each other in that recharacterization analyses focus on the substance of the transaction,
      whereas equitable subordination analyses focus on the creditor’s behavior”).
 12   Fidelity Bond & Mort. Co. v. Brand (In re Fidelity Bond & Mort. Co.), 340 B.R. 266, 302 (Bankr. E.D. Pa.
      2006) (citation omitted).

                                                        VII.B-3
12-12020-mg           Doc 3698-21         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                B Pg 4 of 27




                    parties say in their contracts, from what they do through their
                    actions, and from the economic reality of the surrounding
                    circumstances. Answers lie in facts that confer context case-by-
                    case.13

 The party seeking to recharacterize a claim bears the burden of proof.14 In determining
 whether to recharacterize a loan, some courts, including those located in the Southern District
 of New York, consider the following factors identified by the Sixth Circuit Court of Appeals
 in Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.):15

              (1) the names given to the instruments;
              (2) the presence or absence of a fixed maturity date and schedule of payments;
              (3) the presence or absence of a fixed rate of interest and interest payments;
              (4) the source of repayments;
              (5) the adequacy or inadequacy of capitalization;
              (6) the identity of interest between the creditor and shareholder;
              (7) the security for the advances;
              (8) the corporation’s ability to obtain financing elsewhere;
              (9) the extent to which the advances were subordinated;
              (10) the extent to which the advances were used to acquire capital assets; and
              (11) the presence or absence of a sinking fund to provide repayment.




 13   In re Submicron Sys. Corp., 432 F.3d at 456 (referring to AutoStyle factors and noting other factors considered
      by courts).
 14   See Viera v. AGM II, LLC (In re Worldwide Wholesale Lumber, Inc.), 378 B.R. 120, 124 (Bankr. D.S.C.
      2007) (“The party seeking to reclassify a debt as an equity contribution needs to demonstrate that the intent of
      the parties at the time they entered into the transaction was to enter into an investment relationship, not a
      lending relationship.”).
 15   269 F.3d at 747–48 (adopting factors used in Roth Steel Tube Co. v. Comm’r, 800 F.2d 625, 630 (6th Cir.
      1986); see also Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings
      LLC), 420 B.R. 112, 154 (Bankr. S.D.N.Y. 2009), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011); In re Adelphia
      Commc’ns Corp., 365 B.R. at 74. The list set forth herein is generally referred to as the “AutoStyle” or “Roth
      Steel” factors.

                                                       VII.B-4
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 B Pg 5 of 27




 “[T]he determination of whether an asserted debt should be recharacterized as equity depends
 on the facts and circumstances as they existed at the time of the issuance of the [alleged
 debt].”16 None of the Autostyle factors is dispositive, and a court will likely weigh them
 differently depending upon the circumstances.17 A court may dismiss a recharacterization
 claim “if the plaintiff fails ‘to plead facts [that] trigger the applicability of the Autostyle
 factors, or a meaningful subset of them.’”18 A more complete discussion of each of the
 Autostyle factors follows.

                a. Names Given To, And Terms Of, The Instruments

      Although not bound to the labels given by the parties to the transaction documents, a
 court will examine the names and terms of the documents to determine the nature of, and the
 parties’ intent with regard to, the transaction.19 To state the obvious, “[w]ith respect to the first
 factor, ‘[t]he issuance of a stock certificate indicates an equity contribution; the issuance of a
 bond, debenture, or note is indicative of bona fide indebtedness.’”20 In analyzing this factor,
 courts have noted that provisions in the transaction documents requiring the purported
 borrower “to pay for all ‘reasonable out-of-pocket expenses’ including attorneys’ fees
 associated with the enforcement of the [transaction]” would be indicative of a loan.21 Further,
 a court may consider the description of the transaction set forth in other documents, such as




 16   Rockville Orthopedic Assocs., P.C. v. Kort (In re Rockville Orthopedic Assocs., P.C.), 377 B.R. 438, 442
      (Bankr. D. Conn. 2007) (citing In re Cold Harbor Assoc., L.P., 204 B.R. 904, 916–17 (Bankr. E.D. Va.
      1997)); see, e.g., In re AutoStyle Plastics, Inc., 269 F.3d at 747–48 (“Recharacterization is appropriate where
      the circumstances show that a debt transaction was ‘actually [an] equity contribution [ ] ab initio.’”); see also
      In re BH S& B Holdings LLC, 420 B.R. at 157 (citing In re AutoStyle Plastics, Inc., 269 F.3d at 747–48).
 17   See Sender v. Bronze Grp. Ltd. (In re Hedged-Invs. Assocs., Inc.), 380 F.3d 1292, 1298-99 (10th Cir. 2004)
      (“None of these factors is dispositive and their significance may vary depending upon circumstances.”). “No
      mechanistic scorecard suffices. And none should . . . .” In re Submicron Sys. Corp., 432 F.3d at 456.
 18   In re BH S&B Holdings LLC, 420 B.R. at 158 (Bankr. S.D.N.Y. 2009) (quoting In re Adelphia Commc’ns
      Corp., 365 B.R. at 74), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011).
 19   See Section VII.B.1; see also Official Unsecured Creditors’ Comm. v. Highland Capital Mgmt. L.P. (In re
      Broadstripe, LLC), 444 B.R. 51, 95 (Bankr. D. Del. 2010) (concluding that this factor “weighs heavily in
      favor” of debt where the advances were provided under a “credit facility,” “consistently referred to as ‘loans’
      or ‘debt’ and are evidenced by ‘notes’”).
 20   In re BH S&B Holdings LLC, 420 B.R. at 158 (quoting Stinnett’s Pontiac Serv., Inc. v. Comm’r, 730 F.2d
      634, 638 (11th Cir. 1984)), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011).
 21   See Farr v. Phase-I Molecular Toxicology (In re Phase-I Molecular Toxicology), 287 B.R. 571, 577 (Bankr.
      N.M. 2002).

                                                        VII.B-5
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                                 B Pg 6 of 27




 SEC filings and UCC-1 financing statements, to determine the parties’ intent.22 The absence of
 debt instruments, such as notes, or other clear indicia of a loan may indicate that the
 transaction is an equity contribution and not a loan.23 Nevertheless, courts have noted that
 “[t]he manner of documentation is only one factor in the recharacterization analysis.”24

                b. Presence Or Absence Of A Fixed Maturity Date And Schedule Of Payments

       “The absence of a fixed maturity date and a fixed obligation to repay is an indication that
 the advances were capital contributions and not loans.”25 Treatment of maturity dates as
 “illusory” and the failure to require the borrower to make principal payments as they become
 due may be indicative of an equity contribution.26 Extensions of a maturity date, however, are
 not necessarily indicative of an equity contribution.27

                c. Presence Or Absence Of A Fixed Rate Of Interest And Interest Payments

      “The absence of a fixed rate of interest and interest payments is a strong indication that
 the advances were capital contributions rather than loans.”28 The presence of both a fixed
 maturity date and a fixed (or specified), agreed-upon rate of interest is indicative of a loan.29
 For purposes of this factor, a “fixed” rate of interest refers to periodic interest payments,




 22   See In re Submicron Sys. Corp., 432 F.3d at 457 (“The Court also found evidence of the parties’ intent to
      create a debt investment outside the lending documents.”).
 23   See, e.g., Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726, 747–48 (6th Cir.
      2001) (“The absence of notes or other instruments of indebtedness is strong indication that the advances were
      capital contributions and not loans.”); Autobacs Strauss, Inc. v. Autobacs Seven Co., Ltd. (In re Autobacs
      Strauss, Inc.), 473 B.R. 525, 573 (Bankr. Del. 2012) (same); see also In re Adelphia Commc’ns Corp, 368
      B.R. at 192 (noting absence of contemporaneous documentation supports equity argument).
 24   In re Micro-Precision Techs., Inc., 303 B.R. 238, 247 (Bankr. N.H. 2003).
 25   In re AutoStyle Plastics, Inc., 269 F.3d at 750 (citation omitted); see also Official Unsecured Creditors’
      Comm. v. Highland Capital Mgmt, L.P. (In re Broadstripe, LLC), 444 B.R. 51, 95 (Bankr. D. Del. 2010).
 26   In re Autobacs Strauss, Inc., 473 B.R. at 573–74 (Bankr. Del. 2012).
 27   Herzog v. Leighton Holdings, Ltd. (In re Kids Creek Partners, L.P.), 212 B.R. 898, 932 (Bankr. N.D. Ill.
      1997) (noting that “the mere fact that the loan terms were flexible does not demonstrate that the loans should
      be recharacterized”), aff’d, 233 B.R. 409 (N.D. Ill. 1999), aff’d, 200 F.3d 1070 (7th Cir. 2000).
 28   In re AutoStyle Plastics, Inc., 269 F.3d at 750.
 29   Daewoo Motor Am., Inc. v. Daewoo Motor Co., Ltd. (In re Daewoo Motor Am., Inc.), 471 B.R. 721, 737
      (C.D. Calif. 2012).

                                                         VII.B-6
12-12020-mg           Doc 3698-21           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                  B Pg 7 of 27




 including fluctuating ones.30 Further, a party’s subsequent agreement to forbear from
 collecting payment of principal or interest does not by itself support recharacterization,31
 particularly when the forbearance was agreed to by a pre-existing lender.32

                d. Source Of Repayment

      “If the expectation of repayment depends solely on the success of the borrower’s
 business, the transaction has the appearance of a capital contribution.”33 A court would likely
 consider “the underlying economic reality and the general tie between the loan’s repayment
 and the success of the business” to determine the source of repayment.34 The existence of
 multiple sources of repayment, including collateral securing the advance, would be indicative
 of a loan.35 Where, however, the only source of repayment is the borrower’s earnings and the
 advance is unsecured, this factor would favor recharacterization.36




 30   See In re Moll Indus., Inc., 454 B.R. at 582 (concluding that fixed rate refers to the periodic payment of
      interest). “When a transaction is intended as equity, there is usually no interest paid or interest payments are
      sporadic because the investor is more interested in seeing the value of its investment grow rather than
      receiving periodic payments.” Id. In this case, the court concluded that the periodic payment of interest at
      rates that, although fluctuating, “are typical in the market place for debt instruments” and that, therefore, this
      factor would not support recharacterization. Id.
 31   See In re AutoStyle Plastics, Inc., 269 F.3d at 747–48; see also Drake v. Franklin Equip. Co. (In re Franklin
      Equip. Co.), 418 B.R. 176, 195–96 (Bankr. E.D. Va. 2009) (“If such forbearance could retroactively convert a
      good loan to equity that would indeed validate the saying that ‘no good deed goes unpunished.’”). But see
      Friedman’s Liquidating Trust v. Goldman Sachs Credit Partners, L.P. (In re Friedman’s Inc.), 452 B.R. 512,
      521 (Bankr. D. Del. 2011) (noting the “deferral of interest payments, the below prime interest rate” and the
      failure to repay loans from potential source of funding was indicative of equity).
 32   See In re Moll Indus., Inc., 454 B.R. at 583 (“In the case of a pre-existing lender, it is legitimate for the lender
      to take actions to protect its existing loans, including extending additional credit or granting forbearance.”).
 33   In re AutoStyle Plastics, Inc., 269 F.3d at 751.
 34   Autobacs Strauss, Inc. v. Autobacs Seven Co., Ltd. (In re Autobacs Strauss, Inc.), 473 B.R. 525, 575 (Bankr.
      Del. 2012) (comparing cases).
 35   See id. at 575 (comparing cases); see also In re Franklin Equip. Co., 416 B.R. at 513 (noting that alternative
      sources of repayment is indicative of a loan).
 36   See In re Autobacs Strauss, Inc., 473 B.R. at 576 (courts have noted that the use of the proceeds of a
      subsequent sale of the borrower to repay a “bridge” loan made to cover the borrower’s operating expense until
      such sale is indicative of a loan); see also Farr v. Phase-I Molecular Toxicology (In re Phase-I Molecular
      Toxicology), 287 B.R. 571, 577 (Bankr. N.M. 2002) (“This weighs in favor of characterizing the transaction
      as a loan, since the source of intended repayment when the advance was made was not dependant solely on
      the future success of the Debtor’s business.”).

                                                         VII.B-7
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                 B Pg 8 of 27




                e. Adequacy Or Inadequacy Of Capital

       Thin or inadequate capitalization is strongly indicative that the transaction is not a loan
 but rather an equity contribution.37 However, a court “should not put too much emphasis on
 this factor . . . because all companies in bankruptcy are in some sense undercapitalized.”38

      Some courts have held that capitalization should be assessed not only at initial
 capitalization, but also at the time of the transaction being challenged.39 Other courts have
 held that the initial capitalization is more significant.40 “Whether the Debtor was
 undercapitalized at the time of the transaction, though relevant, is not determinative.”41




 37   In re Franklin Equip. Co., 418 B.R. at 197 (citation omitted) (“Thin or inadequate capitalization is strong
      evidence that the advances are capital contributions rather than loans.”).
 38   Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R.
      112, 159 (Bankr. S.D.N.Y. 2009), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011).
 39   See In re Autobacs Strauss, Inc., 473 B.R. at 576 (“Capitalization is assessed both at the times of initial
      capitalization and subsequent transactions.”); United States v. Colorado Invesco, Inc., 902 F. Supp. 1339,
      1342 (D. Co. 1995) (noting that “theory looks either to the initial amount of capital in a corporation or its
      financial status at the time the loans were made”).
 40   See In re N & D Props., Inc., 799 F.2d 726, 733 (11th Cir. 1986) (“Shareholder loans may be deemed capital
      contributions . . . where the trustee proves initial undercapitalization . . . .”); Diasonics, Inc. v. Ingalls, 121
      B.R. 626, 631 (Bankr. N.D. Fla. 1990) (“It is the trustee’s burden to show that the corporation was initially
      undercapitalized . . . .”).
 41   In re Phase-I Molecular Toxicology, 287 B.R. at 578.

                                                         VII.B-8
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 B Pg 9 of 27




      Because the possibility of recharacterization may discourage loans to distressed
 corporations, a claimant’s status as an insider and a debtor’s undercapitalization alone will
 normally be insufficient to justify recharacterization of an insider’s claim.42 “However, when
 other factors indicate that the transaction is not a loan at all, recharacterization is appropriate
 to ensure the consistent application of the Bankruptcy Code.”43 A court may recharacterize a
 loan by an insider to an undercapitalized debtor that results in the insider obtaining “rights to
 pervasively control the Debtor” or the right to convert the loan into an equity interest in the
 debtor.44




 42   See, e.g., Fairchild Dornier GMBH v. Official Comm. of Unsecured Creditors (In re Official Comm. of
      Unsecured Creditors for Dornier Aviation (N. Am.), Inc.), 453 F.3d 225, 234 (4th Cir. 2006) (noting that “a
      claimant’s insider status and a debtor’s undercapitalization alone will normally be insufficient to support the
      recharacterization of a claim”); Herzog v. Leighton Holdings, Ltd. (In re Kids Creek Partners, L.P.), 212 B.R.
      898, 932 (Bankr. N.D. Ill. 1997) (noting that “insiders and others [may] shy away from lending to a
      corporation in financial distress or venture at a higher than usual risk.”), aff’d, 233 B.R. 409 (N.D. Ill. 1999),
      aff’d, 200 F.3d 1070 (7th Cir. 2000). “In many cases, an insider will be the only party willing to make a loan
      to a struggling business, and recharacterization should not be used to discourage good faith loans.” In re
      Dornier Aviation (N. Am.), Inc.), 453 F.3d at 234. But see In re N & D Props., Inc., 799 F.2d at 733
      (“Shareholder loans may be deemed capital contributions in one of two circumstances: where the trustee
      proves initial undercapitalization or where the trustee proves that the loans were made when no other
      disinterested lender would have extended credit.”). Commentators have stated that the Eleventh Circuit’s test
      in In re N & D Properties, Inc. for recharacterization is “simple,” “alternative,” “puzzling,” and “disturbing”
      and emphasized that this test is a “minority approach . . . [that] has failed to gain traction” among courts other
      than those lower courts in the Eleventh Circuit. James M. Wilton & Stephen Moeller-Sally, Debt
      Recharacterization Under State Law, 62 BUS. LAW. 1257, 1260–61 (2007).
 43   In re Dornier Aviation (N. Am.), Inc., 453 F.3d at 234 “The ‘paradigmatic’ recharacterization case involves a
      situation where ‘the same individuals or entities (or affiliates of such) control both the transferor and the
      transferee, and inferences can be drawn that the funds were put into an enterprise with little or no expectation
      that they would be paid back along with other creditor claims.’” In re BH S&B Holdings LLC, 420 B.R. at 157
      (quoting Adelphia Commc’ns Corp. v. Bank of Am., N.A. (In re Adelphia Commc’ns Corp.), 365 B.R. 24, 74
      (Bankr. S.D.N.Y. 2007)), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011). The presence of an “equity kicker” will
      not necessarily result in the recharacterization of a claim. See Kalisch v. Maple Trade Fin. Corp. (In re
      Kalisch), 413 B.R. 115 (Bankr. S.D.N.Y. 2008) (“The equity component was an inducement to the [sic] make
      the Loan, and was never a substitute for repayment.”). “The more such an exchange appears to reflect the
      characteristics of such an arm’s length negotiation, the more likely such a transaction is to be treated as debt.”
      In re Cold Harbor Assocs., LP, 204 B.R. 904, 915 (Bankr. E.D. Va. 1997)).
 44   Aquino v. Black (In re AtlanticRancher, Inc.), 279 B.R. 411, 435 (Bankr. D. Mass. 2002).


                                                        VII.B-9
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                 B Pg 10 of 27




                f. Identity Of Interest Between The Creditor And Shareholder

       “The identity-of-interest factor typically comes into play when multiple creditors make
 ‘loans’ to a debtor corporation . . . .”45 Where stockholders make advances in proportion to
 their equity interests, this factor is indicative of an equity contribution.46 Where there is no
 correlation to equity interests or only one or a handful of shareholders make a loan and there is
 “no evidence that other existing shareholders made contributions to the loan proportionate to
 their respective stock ownership,” this factor would be indicative of a loan.47

                g. Security For The Advances

      “The absence of a security for an advance is a strong indication that the advances were
 capital contributions rather than loans.”48 Debt owed to pre-existing lenders, however, should
 not be recharacterized simply because additional loans were extended without additional
 security.49




 45   See Daewoo Motor Am., Inc. v. Daewoo Motor Co., Ltd. (In re Daewoo Motor Am., Inc.), 471 B.R. 721, 742
      (C.D. Calif. 2012) (citation omitted).
 46   See Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726, 751 (6th Cir. 2001).
 47   See id. at 747–48 (noting “a sharply disproportionate ratio between a stockholder’s percentage interest in
      stock and debt is indicative of bona fide debt”); Farr v. Phase-I Molecular Toxicology (In re Phase-I
      Molecular Toxicology), 287 B.R. 571, 577 (Bankr. N.M. 2002) (noting that lack of evidence of other
      stockholders making contributions proportionate to their equity is indicative of a loan); see also Drake v.
      Franklin Equip. Co. (In re Franklin Equip. Co.), 416 B.R. 483, 517 (E.D. Va. 2009) (noting that this factor
      was indicative of a loan where the source of the advance was one shareholder and the other shareholders did
      not participate in the debt arrangement). But see Autobacs Strauss, Inc. v. Autobacs Seven Co., Ltd. (In re
      Autobacs Strauss, Inc.), 473 B.R. 525, 576 (Bankr. Del. 2012) (concluding that this factor weighed in favor of
      recharacterization where the advances were fully funded by entity indirectly holding 100% equity interest in
      the borrower).
 48   In re AutoStyle Plastics, Inc., 269 F.3d at 752 (citation omitted).
 49   See Cohen v. KB Mezzanine Fund II, LP (In re Submicron Sys. Corp.), 432 F.3d 448, 457 (3d Cir. 2004).

                                                        VII.B-10
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                 B Pg 11 of 27




                h. The Debtor’s Ability To Obtain Financing Elsewhere

      “When there is no evidence of other outside financing, the fact that no reasonable
 creditor would have acted in the same manner is strong evidence that the advances were
 capital contributions rather than loans.”50 Indeed, several courts have held that proof of a
 debtor’s inability to obtain a loan from a disinterested lender is sufficient to recharacterize a
 loan as an equity contribution.51 Other courts have, however, concluded that the inability to
 obtain alternative financing does not by itself “tip the scale.”52 Evidence that would support
 the assertion that no other lender would provide a loan on similar terms includes (i) a low
 interest rate; (ii) the lack of security; (iii) the borrower’s negative cash flow and financial
 condition; and (iv) the borrower’s failure to provide its own financials when dealing with trade
 creditors or other potential lenders.53

                i. The Extent To Which The Advances Were Subordinated

      “Subordination of advances to claims of all other creditors indicates that the advances
 were capital contributions and not loans.”54 Failure to enforce demand interest payments or
 principal payments at maturity may be evidence of de facto subordination that could weigh in
 favor of recharacterization.55




 50   In re AutoStyle Plastics, Inc., 269 F.3d at 752 (citation omitted); see In re Phase-I Molecular Toxicology, 287
      B.R. at 577 (noting that this factor supports a capital contribution where “the Debtor was unable to obtain
      loans from other lenders at the time of the transaction”). “[T]he proper question is ‘whether a reasonable
      outside creditor would have made a loan to the debtor on similar terms.’” In re Autobacs Strauss, Inc., 473
      B.R. at 579 (footnote omitted).
 51   See In re N&D Props., Inc., 799 F.2d 726, 733 (11th Cir. 1986) (“Shareholder loans may be deemed capital
      contributions…where the trustee proves that the loans were made when no other disinterested lender would
      have extended credit.”); Diasonics, Inc. v. Ingalls, 121 B.R. 626, 631 (Bankr. N.D. Fla. 1990) (“It is the
      trustee’s burden to show that … the loans were made when no other disinterested lender would have extended
      credit.”).
 52   In re Phase-I Molecular Toxicology, 287 B.R. at 578 (Bankr. N.M. 2002). “Existing lenders are often the only
      source of funding when a debtor faces distress. Therefore, inability to obtain alternative financing is
      insufficient to support recharacterization.” Official Comm. of Unsecured Creditors v. Highland Capital Mgmt.
      L.P. (In re Moll Indus., Inc.), 454 B.R. 574, 584 (Bankr. D. De. 2011). “While the fact that the Debtor could
      not obtain a loan from any other disinterested lender weighs in favor of treating the advance as a capital
      contribution, [sic] by itself does not tip the scale.” Official Comm. of Unsecured Creditors v. Credit Suisse
      First Boston, 299 B.R. 732, 742 (Bankr. D. Del. 2003) (internal quotations omitted) (quoting In re Phase-I
      Molecular Toxicology, 287 B.R. at 578 ).
 53   See In re Autobacs Strauss, Inc., 473 B.R. at 579–80.
 54   In re AutoStyle Plastics, Inc., 269 F.3d at 752 (citation omitted).
 55   See In re Autobacs Strauss, Inc., 473 B.R. at 580.

                                                        VII.B-11
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                 B Pg 12 of 27




                j. The Extent To Which The Advances Were Used To Acquire Capital Assets

      Capital contributions are typically made to start a business enterprise or to fund capital
 improvements.56 “Use of advances to meet the daily operating needs of the corporation, rather
 than to purchase capital assets, is indicative of bona fide indebtedness.”57 Similarly, use of
 advances to refinance existing debt is also indicative of a loan.58

                k. Presence Or Absence Of A Sinking Fund To Provide Repayment

      “A sinking fund is ‘a fund consisting of regular deposits that are accumulated with
 interest to pay off a long-term debt.’”59 While some courts have found the absence of a sinking
 fund to be a factor,60 others have given it little weight.61 Moreover, security for advances may
 minimize the significance of a sinking fund.62 Indeed, the Bankruptcy Court previously noted
 in another matter that “[i]f the loan is secured by a lien, however, there is no need for a
 sinking fund.”63




 56   See Raymond v. United States., 511 F.2d 185, 191 (6th Cir. 1975) (affirming district court’s conclusion that
      advances made to corporation were capital contributions where, among other things, “the advances were made
      in starting the corporation”).
 57   In re AutoStyle Plastics, Inc., 269 F.3d at 752 (citation omitted).
 58   Official Unsecured Creditors’ Comm. v. Highland Capital Mgmt., L.P. (In re Broadstripe), LLC, 444 B.R. 51,
      101 (Bankr. D. Del. 2010) (noting use of advances “to refinance existing secured debt” is indicative of a
      loan). But see Riley v. Tencara, LLC (In re Wolverine, Proctor & Schwarz, LLC), 447 B.R. 1, 40 (Bankr. D.
      Mass. 2011) (noting that “use of the funds to satisfy existing debt rather than to acquire capital assets . . .
      might suggest that the advance was equity”).
 59   Turkmani v. Republic of Bol., 193 F. Supp. 2d 165, 167 (D.D.C. 2002) (quoting BLACK’S LAW DICTIONARY
      682 (7th ed. 1999)).
 60   In re AutoStyle Plastics, Inc., 269 F.3d at 753 (“The failure to establish a sinking fund for repayment is
      evidence that the advances were capital contributions rather than loans.”).
 61   Official Comm. of Unsecured Creditors v. Highland Capital Mgmt. L.P. (In re Moll Indus., Inc.), 454 B.R.
      574, 585 (Bankr. D. Del. 2011).
 62   See In re AutoStyle Plastics, Inc., 269 F.3d at 753.
 63   Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420
      B.R. 112, 158 (Bankr. S.D.N.Y. 2009)

                                                        VII.B-12
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                 B Pg 13 of 27




                l. Other Factors

       In addition to the factors set forth above, a court may consider (i) the right to enforce
 payment of principal and interest; (ii) the lender’s participation in management of the
 borrower; (iii) the parties’ intent; (iv) the failure of the debtor to repay on the due date; and
 (v) the ratio of shareholder loans to capital.64

       4. Statute Of Limitations

       A recharacterization claim does not appear to be subject to any statute of limitations
 because such claim is typically “brought under the Bankruptcy Code, as part of seeking a
 determination from the Court regarding the proper treatment of [claims], for purposes of
 distribution from the bankruptcy estate.”65 The Bankruptcy Court may nevertheless conclude
 that a recharacterization claim is subject to the law of the forum state—New York—and apply
 the six-year statute of limitations set forth in CPLR § 213(1), which governs causes of action
 for which no specific period has been provided.66 In any event, because the debt subject to
 recharacterization assertions was issued within the six-year period immediately preceding the
 Petition Date, the Examiner concludes that the statute of limitations would not bar an effort to
 recharacterize AFI’s claims under the A&R Secured Revolver Agreement, the A&R Line of
 Credit Agreement, the Senior Secured Notes, or the Junior Secured Notes.




 64   See Cohen v. KB Mezzanine Fund II, LP (In re Submicron Sys. Corp.), 432 F.3d 448, 456 n.8 (3d Cir. 2006)
      (referring to the recharacterization test adopted by the Fifth and Eleventh Circuit in the tax context); see also
      In re Mangia Pizza Invs, LP, No. 10-13235, 2012 WL 2194145, at *34 (Bankr. W.D. Tex. June 14, 2012)
      (noting that Texas recharacterization test consists of 16 factors); Moglia v. Quantum Indus. Partners, LDC (In
      re Outboard Marine Corp.), 2003 WL 21697357, at *5 (N.D. Ill. July 22, 2003) (considering the Autostyle
      factors and (a) “the ratio of shareholder loans to capital,” and (b) “the amount or degree of shareholder
      control”). In a case under the Small Business Investment Act, the United States District Court for the District
      of Colorado noted that “[r]elevant factors used by courts to determine if a loan should be recharacterized
      include the amount of initial operating capital, the length of time the corporation was in operation and how the
      transactions were treated when made.” United States v. Colorado Invesco, Inc., 902 F. Supp 1339, 1342 (D.
      Co. 1995). In a recent case, the United States Bankruptcy Court for the District of Delaware note that (i) the
      presence of voting rights and (ii) lack of formalities would weigh in favor of recharacterization. Autobacs
      Strauss, Inc. v. Autobacs Seven Co., Ltd. (In re Autobacs Strauss, Inc.), 473 B.R. 525, 581 (Bankr. Del. 2012).
      In context of a small, closely held corporation, the lack of formalities may have little bearing on the
      recharacterization analysis. See Internet Navigator Inc., 289 B.R. 133, 137 (Bankr. N.D. Iowa 2003).
 65   Official Comm. of Unsecured Creditors v. Foss (In re Felt Mfg. Co., Inc.), 371 B.R. 589, 629 (Bankr. D.N.H.
      2007) (concluding “no applicable statute of limitations”); see In re Maxim Truck Co., Inc., 415 B.R. 346, 359
      (S.D. Ind. 2009) (“A claim to recharacterize debt as equity is not statutorily based and there is no explicit
      statute of limitations.”).
 66   See PSINet, Inc. v. Cisco Sys. Capital Corp. (In re PSINet, Inc.), 271 B.R. 1, 39–41 (Bankr. S.D.N.Y. 2001)
      (holding that New York’s six-year statute of limitations applicable to claims for which no statute of limitation
      is prescribed, including equity actions, applies to a claim for recharacterization of a lease as a disguised
      security arrangement).

                                                       VII.B-13
12-12020-mg             Doc 3698-21      Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                               B Pg 14 of 27




       5. AFI Was And Is An Insider Of ResCap

      At all times relevant to the Investigation, ResCap was a wholly owned indirect subsidiary
 of AFI, and RFC and GMAC Mortgage were indirect, wholly owned subsidiaries of ResCap.
 Thus, AFI was and is an “insider” of ResCap, RFC and GMAC Mortgage as that term is
 defined in the Bankruptcy Code.67 As an insider, AFI’s claims are subject to close scrutiny.68

      The Examiner concludes that ResCap and its Subsidiaries RFC and GMAC Mortgage
 were inadequately capitalized from and after August 15, 2007 and Balance Sheet Insolvent
 from and after December 31, 2007.69 Thus, the AFI claims subject to recharacterization
 challenge were on account of advances made or debt securities transferred to ResCap at a time
 when it was undercapitalized. The facts alone will not result in recharacterization as “[a]
 claimant’s insider status and a debtor’s undercapitalization alone will normally be insufficient
 to support the recharacterization of a claim. In many cases, an insider will be the only party
 willing to make a loan to a struggling business, and recharacterization should not be used to
 discourage good faith loans.”70

       6. Recharacterization Is A Fact-Intensive Analysis

      “Recharacterization cases turn on whether a debt actually exists.”71 In determining
 whether to recharacterize a claim as equity, a court analyzes whether “the parties called an
 instrument one thing when in fact they intended it as something else.”72 The recharacterization
 analysis has been described as “fact sensitive,” because it depends on the circumstances and




 67   See 11 U.S.C. §101(31).
 68   See Algonquin Power Income Fund v. Ridgewood Heights, Inc. (In re Franklin Indus. Complex, Inc.), No. 06-
      80254, 2007 WL 2509709, at *15 (Bankr. N.D.N.Y. 2007) (“Another rule of thumb in recharacterization
      analyses is that ‘the claims of creditors who were corporate insiders and/or had conducted their transactions
      with the debtors in some inequitable manner are closely scrutinized [in recharacterization cases].’”).
 69   See Section VI.
 70   Rockville Orthopedic & Sports Assocs., P.C. v. Kort (In re Rockville Orthopedic Assocs., P.C.), 377 B.R. 438,
      442–43 (Bankr. D. Conn. 2007).
 71   Adelphia Commc’ns Corp. v. Bank of Am., N.A. (In re Adelphia Commc’ns Corp.), 365 B.R. 24, 73 (Bankr.
      S.D.N.Y. 2007)), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y. 2011).
 72   Cohen v. KB Mezzanine Fund II, LP (In re Submicron Sys. Corp.), 432 F.3d 448, 456 (3d Cir. 2006) (referring
      to AutoStyle factors and noting other factors considered by courts).

                                                     VII.B-14
12-12020-mg           Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                 B Pg 15 of 27




 facts existing at the time of the alleged debt.73 Recharacterization is a rare remedy that is
 “becoming more narrow,” with very few instances of a court recharacterizing a debt.74

       7. Analysis Of The AFI Secured Revolver Facility Claim

                a. The Secured Revolver Facility

       As described in greater detail in Section V.E.3, the Secured Revolver Facility was
 initially placed in 2008 and amended and restated at year-end 2009.75 The Secured Revolver
 Loan Agreement was modified to convert $1.55 billion of Secured Revolver Facility Revolver
 Loans into Secured Revolver Facility Term Loans, eliminating the ability of the Secured
 Revolver Facility Borrowers to draw any new loans under the Secured Revolver Facility.76

      The Secured Revolver Facility was intended to replace existing indebtedness that could
 not be refinanced by existing lenders on a timetable suitable to ResCap.77 Sam Ramsey, Chief
 Risk Officer of AFI at the time, in discussing the impetus for AFI entering into the Secured
 Revolver Agreement noted:

                     And so, you know, as I said, we had to get through a negotiation
                     with the four banks and a proposal that they could endorse and
                     that their credit committees would approve prior to taking it out
                     to the broader universe of syndicate participants or—and, in this
                     case, bilateral institutions. And so, it was just simply not getting
                     any particular constructive offer back from the bank group in
                     terms of meeting ResCap’s needs. And so, we decided to just
                     take them out of that conversation, and for [AFI] to be the lender
                     to ResCap. And that’s why that facility was put into place as
                     part of the overall renewal and restructuring of the bank
                     facilities for both entities.78



 73   4 COLLIER ON BANKRUPTCY, ¶ 510.02[3] (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2012).
 74   Marvin C. Ruth & Scott K. Brown, Pacific Express—On the Rise or Falling? An Update on Loan
      Recharacterization and Its Interplay with 11 U.S.C. § 510(B), 2007 No. 7 NORTON BANKR. L. ADVISER 2
      (2007); see also Thomas R. Fawkes & Devon J. Eggert, Recharacterization of Debt to Equity, COMM. BANKR.
      LITIG. § 19:8 (2013) (stating that “it is infrequently the case that courts rule in favor of recharacterization, as
      evidenced by the scarcity of reported decisions in which a debt is recharacterized as equity”).
 75   See Appendix V.E.8.
 76   See id.
 77   See Section V.E.3 (discussing the Secured Revolver Facility and the events leading to its entry).
 78   Int. of S. Ramsey, Dec. 10, 2012, 77:17–78:7. De Molina recalls the bank group initially agreed to fund half
      of the $3.5 billion available under the Secured Revolver Facility. Ultimately, however, he “decided because I
      was—the—we were getting a junior position, I decided to take the full three and a half.” Int. of A. de Molina,
      Nov. 20, 2012, at 144:25–145:2.

                                                        VII.B-15
12-12020-mg          Doc 3698-21         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VII
                                               B Pg 16 of 27




      AFI initially committed to make the Secured Revolver Facility Loans to the Secured
 Revolver Facility Borrowers, up to the lesser of $3.5 billion and the then existing borrowing
 base.79 The borrowing base was determined by calculating the aggregate “value” of the First
 Priority Collateral, which, as set forth in Table V.E.3.b, was subject to a discount factor that
 varied depending on the type of asset.
      As noted, the parties’ subjective intent and expectations, including a lender’s
 expectations regarding the repayment of advances, are important factors in the debt
 recharacterization analysis. The Investigation has not revealed any evidence indicating that
 AFI (or, for that matter, ResCap) ever intended, considered, or treated, the Secured Revolver
 Facility Loans as anything other than genuine loans, which ResCap was obligated to repay in
 accordance with the loans’ terms.80
      To the contrary, the evidence reflects that the parties always treated the advances under
 the Secured Revolver Facility as loans that were required contractually to be repaid—if
 necessary by liquidating collateral secured by liens.81 According to de Molina, to ensure
 repayment, AFI “instead of taking the second behind guys that I thought would liquidate [i.e,
 the bank group] and leave us with nothing, we took a pari passu on the full pool.”82 In
 addition, ResCap was required to prepay Secured Revolver Facility Loans (1) to the extent the
 outstanding principal balance exceeded the borrowing base; and (2) with the net cash proceeds
 from certain collateral dispositions.83 In addition, on June 4, 2008, AFI sold to GM and
 Cerberus a $750 million first loss participation interest in the Secured Revolver Facility,
 which is further evidence that AFI and third parties regarded the advances as loans.84
     The Examiner’s Financial Advisors confirmed that ResCap made payments under the
 Secured Revolver Facility significantly reducing its indebtedness over time. Indeed, in 2010
 and 2011, ResCap paid $789.523 million of the balance due to AFI under the Secured
 Revolver Facility.85

 79   See Appendix V.E.3.b.
 80   The Secured Revolver Loan Agreement was approved by the ResCap Board and the boards of RFC and
      GMAC Mortgage. See Section V.E.3 (discussing approval of the Secured Revolver Loan Agreement). The
      A&R Secured Revolver Agreement was approved by the ResCap Board and the boards of RFC and GMAC
      Mortgage in December 2009. See Section V.E.8 (discussing approval of the A&R Secured Revolver
      Agreement).
 81   See Appendix V.E.3.g.
 82   Int. of A. de Molina, Nov. 20, 2102, at 145:11–13.
 83   See Section V.E.3.
 84   Memorandum, ResCap: Significant Capital Contributions and Related-Party Transactions, dated June 9, 2009,
      at 4 [ALLY_0240180]; Participation Agreement between GMAC LLC, GM and Cerberus ResCap Financing
      LLC, dated as of June 4, 2008 [ALLY_0043807]. The first loss participation was subsequently contributed to
      AFI on December 29, 2008 in exchange for equity in AFI. Participation Agreement between GMAC LLC,
      GM and Cerberus ResCap Financing LLC, dated as of June 4, 2008 [ALLY_0043807].
 85   Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and
      2008 (Feb. 26, 2010), at 42 [EXAM00124455]; Residential Capital, LLC Consolidated Financial Statements
      for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 38 [EXAM00122651].

                                                      VII.B-16
12-12020-mg           Doc 3698-21         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                B Pg 17 of 27




      Courts have acknowledged that the inability of a debtor to obtain a loan on similar terms
 from an independent third party in some instances may be indicative of an equity
 contribution.86 Here, it appears that the Secured Revolver Facility was on better terms than a
 third party lender would provide.87 However, “[i]n many cases, an insider will be the only
 party willing to make a loan to a struggling business, and recharacterization should not be
 used to discourage good-faith loans.”88 The Secured Revolver Facility fits that criterion,
 because it was made for legitimate purposes, including to repay existing indebtedness and for
 working capital purposes.89

      Based on the foregoing, the Examiner concludes that when AFI and ResCap entered into
 the Secured Revolver Loan Facility, the parties intended the Secured Revolver Facility to be a
 loan with AFI expecting in good faith the repayment of the advances in accordance with the
 terms of the underlying agreements.

                b. An Examination Of The AFI Secured Revolver Facility Claim Under The
                   Autostyle Factors

     It has been noted that the “paradigmatic” recharacterization case involves a situation
 where the same party controls both the transferor and the transferee, and inferences can be
 drawn that the funds were put into an enterprise with little or no expectation that they would
 be paid back along with other creditor claims.90 In considering recharacterization in the




 86   See Gernsbacher v. Campbell (In re Equip. Equity Holdings, Inc.), No. 11-0362, 2013 WL 1335951, at *52
      (Bankr. N.D. Tex. 2013) (noting that “the court recognizes that the fact that a corporation is unable to attract
      similar loans from other investors may weigh in favor of recharacterization”); see also Official Comm. of
      Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R. 112, 158 (Bankr.
      S.D.N.Y. 2009) (noting that “[t]he fact that no reasonable creditor would have acted in the same manner is
      strong evidence that the advances were capital contributions rather than loans”), aff’d, 807 F. Supp. 2d 199
      (S.D.N.Y. 2011).
 87   See Section V.E.3 (discussing the terms of the A&R Secured Revolver Agreement).
 88   Fairchild Dornier GMBH v. Official Comm. of Unsecured Creditors (In re Official Comm. of Unsecured
      Creditors for Dornier Aviation (N. Am.), Inc.), 453 F.3d 225, 234 (4th Cir. 2006) (emphasis added); see
      Rockville Orthopedic & Sports Assocs., P.C. v. Kort (In re Rockville Orthopedic Assocs., P.C.), 377 B.R.
      438, 442–43 (Bankr. D. Conn. 2007) (citing Dornier Aviation, 453 F.3d at 34).
 89   See Section V.E.3; Section V.E.8; see also GMAC LLC, Current Report (Form 8-K) (June 4, 2008), at 6.
 90   In re BH S&B Holdings LLC, 420 B.R. at 157 (quoting Adelphia Commc’ns Corp. v. Bank of Am., N.A. (In re
      Adelphia Commc’ns Corp.), 365 B.R. 24, 74 (Bankr. S.D.N.Y. 2007)), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y.
      2011).

                                                       VII.B-17
12-12020-mg          Doc 3698-21        Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VII
                                              B Pg 18 of 27




 paradigmatic situation, a court would likely undertake an analysis of the Autostyle factors.91
 The following Autostyle factors are indicative of the AFI Secured Revolver Facility being a
 loan:

                    (1) The names given to, and the terms of, the instruments: The AFI Secured
                        Revolver Facility Claim refers to Claims arising under, derived from, or
                        based upon the A&R Secured Revolver Loan Agreement and the A&R First
                        Priority Security Agreement. The names of the underlying documents
                        reflect that the transactions were intended to be loans and not equity
                        contributions.92 Promissory notes were executed and delivered in
                        connection with the advances made.93 In addition, as noted in Section
                        V.E.8, the A&R Secured Revolver Loan Agreement contained
                        representations and warranties, covenants, events of default and
                        indemnification provisions that were standard for facilities of comparable
                        size and nature (and would have been typical for a syndicated credit facility
                        with unaffiliated lenders). Moreover, the Secured Revolver Facility was
                        publicly described as a loan in SEC filings and UCC financing statements.94

                    (2) The presence of a fixed maturity date and schedule of payments: The
                        Secured Revolver Loan Agreement and the A&R Secured Revolver Loan
                        Agreement had a stated maturity date at closing, which would have been
                        typical for a syndicated credit facility with unaffiliated lenders.95 Although
                        extended, the maturity date of the A&R Secured Revolver Loan Agreement
                        was not allowed to lapse.96 The extension of a maturity date should not



 91   See In re BH S&B Holdings LLC, 420 B.R. at 157–58.
 92   The A&R Secured Revolver Loan Agreement is defined as “the Amended and Restated Credit Agreement,
      dated as of December 30, 2009 (as amended, supplemented, or otherwise modified), by and among . . . .”
 93   See, e.g., Promissory Note of RFC and GMAC Mortgage, dated Dec. 30, 2009 [ALLY_0066913].
 94   See Residential Capital, LLC, Current Report (Form 8-K) (June 3, 2008) (describing loan terms and noting
      “[u]nder the Facility, [AFI] has agreed to make revolving loans to RFC and GMAC Mortgage”); see, e.g.,
      UCC-1 Financing Statement, naming RFC as debtor and Wells Fargo Bank, N.A. as Collateral Control Agent,
      as the secured party [ALLY_0069179]; UCC-1 Financing Statement, naming GMAC Mortgage as debtor and
      Wells Fargo Bank, N.A. as Collateral Control Agent, as the secured party [ALLY_0069180]; UCC-1
      Financing Statement, naming ResCap as debtor and Wells Fargo Bank, N.A. as Collateral Control Agent, as
      the secured party [ALLY_0069181]; see also UCC-3 Amendment filing, naming RFC as debtor and GMAC
      as the secured party [ALLY_0072614]; UCC-3 Amendment filing, naming GMAC Mortgage as debtor and
      GMAC as the secured party [ALLY_0072639]; UCC-3 Amendment filing, naming ResCap as debtor and
      GMAC as the secured party [ALLY_0072664].
 95   See Appendix V.E.3.c (discussing the maturity of the Secured Revolver Loan Agreement); Appendix V.E.3.j
      (discussing the maturity of the A&R Secured Revolver Loan Agreement).
 96   See Appendix V.E.3.k(1), (4), (5) (discussing extensions to the maturity date of the A&R Secured Revolver
      Facility).

                                                    VII.B-18
12-12020-mg          Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                                B Pg 19 of 27




                         change a court’s conclusion that this factor is indicative of a loan.97
                         Moreover, the evidence reflects that ResCap made payments totaling
                         approximately $789.5 million under the Secured Revolver Loan Facility.98

                    (3) The presence of an agreed rate of interest and interest payments:
                        Interest on the Secured Revolver Facility Loans accrued at a rate of LIBOR
                        + 2.75% per annum.99 A specified, agreed upon rate of interest, whether
                        fixed or floating, is indicative of a loan.100 The evidence reflects that
                        interest payments typically were made.101

                    (4) The source of repayments: The Secured Revolver Facility Loans were
                        required to be repaid from, among other things, net cash proceeds from
                        certain collateral dispositions. In addition, (1) the Secured Revolver Facility
                        was secured by the First Priority Collateral, and (2) the other Secured
                        Revolver Facility Guarantors guaranteed the obligations under the Secured
                        Revolver Facility pursuant to an unconditional guarantee that was in form
                        and substance typical for transactions of this nature. The existence of
                        multiple sources of repayment is indicative of a loan.

                    (5) The security for the advances: The Secured Revolver Facility was
                        secured by collateral, including all then unencumbered assets of the
                        Secured Revolver Facility Borrowers and Secured Revolver Facility



                                                         .
 97   See Daewoo Motor Am., Inc. v. Daewoo Motor Co., Ltd. (In re Daewoo Motor Am., Inc.), 471 B.R. 721, 738-
      39 (Bankr. C.D. Cal. 2012) (“Forbearance until a debtor’s cash flow improves may be good judgment to keep
      a loan out of bankruptcy court, and that is all to be concluded from [the creditor]‘s forbearance for a time in
      connection with [Debtor]‘s debt . . . . If such forbearance could retroactively convert a good loan to equity,
      that would indeed validate the saying that ‘no good deed goes unpunished.’”).
 98   See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and
      2008, dated Feb. 26, 2010, at 42 [EXAM00124455]; Residential Capital, LLC Consolidated Financial
      Statements for the Years Ended December 31, 2011 and 2010, Mar. 28, 2012, at 38 [EXAM00122651].
 99   See Appendix V.E.3.c.
 100 See, e.g., Official Comm. of Unsecured Creditors v. Highland Capital Mgmt. L.P. (In re Moll Indus., Inc.),

      454 B.R. 574, 582 (Bankr. Del. 2011) (concluding that interest payable periodically at fluctuating rates are
      typical in the market and would be “insufficient to support a recharacterization claim”); Bayer Corp. v.
      MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726, 750 (6th Cir. 2001) (concluding that 2% over
      the prime rate was a fixed interest rate); see also In re Daewoo Motor Am., Inc., 471 B.R. at 738–39 (Bankr.
      C.D. Cal. 2012) (noting that bankruptcy court did not err in finding this factor weighs “strongly against
      recharacterization” where rate of interest was generally LIBOR plus 6%).
 101 Although    ResCap did not provide monthly interest payment information, ResCap confirmed to the
      Examiner’s Professionals that payments were made on account of interest expense. As such, interest expense
      reported at each year end was assumed to be equivalent to interest payments for the year. Interest payments
      for 2012 were based on interest expense and unpaid interest information provided by ResCap for that year.

                                                      VII.B-19
12-12020-mg         Doc 3698-21           Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                                B Pg 20 of 27




                        Guarantors, including, among other assets, accounts, chattel paper,
                        commercial tort claims, certain deposit and securities accounts, intellectual
                        property, investment property, specific pledged shares and equity interests
                        and specific pledged promissory notes.102 The presence of such security is
                        generally indicative of a loan.

                   (6) The corporation’s ability to obtain financing elsewhere: It appears that
                       financing for at least a portion of the advances provided by AFI was
                       available elsewhere. The original structure of the facilities, as described in
                       the minutes of a ResCap Board meeting, contemplated a $1.75 billion two-
                       year first lien facility to be provided by ResCap’s existing bank lenders, led
                       by JP Morgan and Citibank.103 In addition, AFI would provide ResCap with
                       a new $1.75 billion term loan that would be secured on a second lien basis
                       and would rank pari passu with the liens securing the proposed Senior
                       Secured Notes. During the April 18, 2008 ResCap Board meeting,104
                       Ramsey stated that AFI’s management was considering a change in the
                       structure for the credit facility, whereby AFI would replace the bank
                       syndicate and provide the entire $3.5 billion facility and all of AFI’s
                       exposure thereunder would be secured by a first priority lien position in the
                       collateral ahead of the proposed Senior Secured Notes and the Junior
                       Secured Notes.105 Such a structure would be “less complex and would allow
                       ResCap to liquidate assets and repay the loan in a more attractive
                       manner.”106 At a subsequent meeting of the ResCap Board held on April 20,
                       2008 it was reported that the new $3.5 billion credit facility would in fact
                       be provided solely by AFI.107 The partial availability of alternative
                       financing provides some additional support for the conclusion that the
                       Secured Revolver Facility should be treated as a loan.108
 102 See Appendix V.E.3.g.

 103 Minutes
           of a Special Meeting of the Board of Directors of ResCap, Apr. 18, 2008, at RC40005719–22
    [RC40005652].
 104 Id.

 105 Id.

 106 Id.; see Int. of L. Hall, Nov. 29, 2012, at 130:3–130:5 (“[I]t made a lot more sense for GMAC to do the entire

    facility, which gave more flexibility to ResCap, better pricing, better terms . . . .”).
 107 Minutes
           of a Special Meeting of the Board of Directors of ResCap, Apr. 20, 2008, at RC40005723–25
    [RC40005652].
 108 Daniel Ammann and Jon Pruzan, representatives from Morgan Stanley, compared the facility being proposed

    by AFI (the Secured Revolver Facility), to a facility being proposed by the banks, stating that “the fees and
    advance rates between the two were similar; that [AFI] was willing to provide a full $3.5 billion, whereas the
    bank syndicate had offered only $1.75 billion; that the [AFI] covenant structure was more favorable to
    [ResCap] than that proposed by the bank syndicate.” Ammann and Pruzan concluded ResCap would not have
    been able at the time to obtain a comparable secured facility in the market absent AFI’s willingness to provide
    it. See Minutes of a Meeting of the Board of Residential Capital, LLC, June 1, 2008, at RC40005753
    [RC40005652].

                                                       VII.B-20
12-12020-mg         Doc 3698-21       Filed 05/13/13 Entered 05/13/13 17:08:13            Section VII
                                            B Pg 21 of 27




                   (7) The extent to which the advances were subordinated: Under the terms of
                       the Intercreditor Agreement,109 liens securing the Secured Revolver Facility
                       and the AFI Hedge Agreements were senior and prior to the liens securing
                       the Senior Secured Notes and the Junior Secured Notes. The lack of
                       subordination is indicative of a loan.

                   (8) The extent to which the advances were used to acquire capital assets:
                       The proceeds from the loans under the Secured Revolver Loan Facility
                       were to be used to repay existing indebtedness of ResCap and for working
                       capital purposes.110 The Secured Revolver Facility was fully drawn in the
                       amount of $3.5 billion as of June 6, 2008, with the proceeds having been
                       used to exchange direct unsecured ResCap obligations owed to unaffiliated
                       third parties (represented by the JPMorgan 2005 Term Loan Facility that
                       was assigned and repaid and by the ResCap bonds tendered and/or
                       exchanged) for direct secured obligations of the Secured Revolver Facility
                       Borrowers owed to AFI.111

      Based on the foregoing, the Examiner concludes that it is unlikely that an effort to
 recharacterize the AFI Secured Revolver Facility Claim would prevail.

     8. Analysis Of The AFI Line Of Credit Agreement Claim

              a. The Line Of Credit Facilities And The A&R Line Of Credit Facility

      As described in greater detail in Section V.E.5, the Initial Line of Credit Facility (a
 precursor to the A&R Line of Credit Facility) was initially placed in 2008 and as described in
 greater detail in Section V.E.7, the Second Line of Credit Facility (the other precursor to the
 A&R Line of Credit Facility) was entered into on June 1, 2009. The A&R Line of Credit
 Agreement was executed at year-end 2009 to combine the Line of Credit Facilities, which at
 the time had borrowing limits of $430 million on the Initial Line of Credit Facility and
 $670 million on the Second Line of Credit Facility, respectively.112

      AFI initially committed to make the A&R Line of Credit Loans to the A&R Line of
 Credit Borrowers, up to the lesser of (i) $1.1 billion and (ii) the then existing borrowing base
 reduced to the extent there was hedging exposure in favor of AFI.113 At closing, the aggregate
 principal amount of A&R Line of Credit Loans outstanding totaled $949.4 million. The


 109 Intercreditor Agreement, dated June 6, 2008 [ALLY_0229287].

 110 GMAC LLC, Current Report (Form 8-K) (June 4, 2008), at 6.

 111 See Section V.E.3.

 112 SeeAppendix V.E.5.a (showing commitment amount of the Initial Line of Credit Facility); Appendix
    V.E.7.h.(10) (amendment to the Second Line of Credit Facility).
 113 See Appendix V.E.8.b.



                                                 VII.B-21
12-12020-mg         Doc 3698-21         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              B Pg 22 of 27




 borrowing base was determined by calculating the aggregate “value” of the A&R Line of
 Credit Collateral, which, as set forth in Table V.E.8.b, was subject to a discount factor that
 varied depending on the type of asset.

      The Investigation has not revealed any evidence indicating that AFI (or, for that matter,
 ResCap) ever intended, considered, or treated the Initial Line of Credit Loans, the Second
 Line of Credit Loans, or the A&R Line of Credit Loans as anything other than genuine loans,
 which ResCap was obligated to repay in accordance with the loans’ terms.114 To the contrary,
 the evidence reflects that the parties always treated the advances made as loans. The evidence
 revealed during the course of the Investigation reflects that AFI made the loans under the Line
 of Credit Facilities and the A&R Line of Credit Facility for legitimate purposes, including to
 assist ResCap address liquidity concerns and comply with TNW covenants.115 And repayment
 was expected—if necessary, by liquidating collateral. Indeed, the Initial Line of Credit Loans,
 the Second Line of Credit Loans, and the A&R Line of Credit Loans were secured by liens on
 certain collateral.116 ResCap made regular payments under the Line of Credit Facilities and the
 A&R Line of Credit Facility.117 Indeed, in 2011, ResCap made net payments of $388 million
 under the A&R Line of Credit Facility.118

      Based on the foregoing, the Examiner concludes that when AFI and ResCap entered into
 the Line of Credit Facilities and the A&R Line of Credit Facility, the parties intended the
 advances thereunder to be loans with AFI expecting in good faith the repayment of the
 advances in accordance with the terms of the underlying agreements.




 114 The A&R Line of Credit Facility was formally documented and approved by the ResCap Board, including the

    Independent Directors. See Action by Written Consent of the Board of Directors of Residential Capital, LLC,
    dated Dec. 29, 2009 [ALLY_0072506] (approving A&R Line of Credit).
 115 See Section V.E.5 (describing the Initial Line of Credit Facility) and Section V.E.8 (describing the A&R Line

    of Credit Facility).
 116 See Appendix V.E.5.(g) (discussing Initial Line of Credit Loans); Appendix V.E.7.(g) (discussing Second

    Line of Credit Loans); Appendix V.E.8.(g) (discussing A&R Line of Credit Loans).
 117 See
       Ally Financial Inc. Summary of Intercompany Balances with ResCap, dated Sept. 25, 2012, at
    ALLY_0182799–824 [ALLY_0182793].
 118 Ally
        Financial Inc. Summary of Intercompany Balances with ResCap, dated Sept. 25, 2012, at
    ALLY_0182811–819 [ALLY_0182793].


                                                    VII.B-22
12-12020-mg        Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              B Pg 23 of 27




              b. An Examination Of AFI Line Of Credit Agreement Claim Under The Autostyle
                 Factors
      The following Autostyle factors are indicative of the AFI Line of Credit being a loan:
                  (1) The names given to, and terms of, the instruments: The AFI Line of
                      Credit Agreement Claim refers to Claims arising under, derived from, or
                      based upon the A&R Line of Credit Agreement, the A&R Initial Line of
                      Credit Security Agreement, and the A&R Second Line of Credit Security
                      Agreement. The names of the underlying documents reflect that the
                      transactions were intended to be loans and not equity contributions.119
                      Promissory notes were executed and delivered in connection with the
                      closing of the A&R Line of Credit Facility.120 In addition, as noted in
                      Sections V.E.5, 7 and 8, the Initial Line of Credit Agreement, the Second
                      Line of Credit Agreement and the A&R Line of Credit Agreement
                      contained representations and warranties, covenants, events of default and
                      indemnification provisions that were standard for facilities of comparable
                      size and nature (and would have been typical for a syndicated credit facility
                      with unaffiliated lenders). Moreover, the Line of Credit Facilities and the
                      A&R Line of Credit Facility were publicly described as loans in UCC
                      financing statements.121 The Line of Credit Facilities were described as
                      loans in SEC filings122 and the A&R Line of Credit Facility was reported in
                      ResCap’s financial statements.123
                  (2) The presence of a fixed maturity date and schedule of payments: Each of
                      the Initial Line of Credit Agreement, the Second Line of Credit Agreement
                      and the A&R Line of Credit Agreement had a stated maturity date at closing,
                      which is typical of third-party financings negotiated at arm’s length.124
                      Although extended, the maturity date was not allowed to lapse.125

 119 The A&R Line of Credit Agreement is defined as “the Amended and Restated Loan Agreement, dated as of

    December 30, 2009 (as amended, supplemented, or otherwise modified), by and among . . . .”
 120 See Amended and Restated Note of RFC and GMAC Mortgage, dated Dec. 30, 2009 [ALLY_0071281].

 121 See, e.g., UCC-1 Financing Statement, naming RFC as debtor and the First Priority Collateral Agent as the

    secured party [ALLY_0045675]; UCC-1 Financing Statement, naming GMAC Mortgage as debtor and the
    First Priority Collateral Agent as the secured party [ALLY_0045685]; UCC-1 Financing Statement, naming
    ResCap as debtor and the First Priority Collateral Agent as the secured party [ALLY_0045692].
 122 Residential Capital, LLC, Current Report (Form 10-K) (Feb. 27, 2009), at 89; Residential Capital, LLC,

    Current Report (Form 10-Q) (May 11, 2009), at 24; Residential Capital, LLC, Current Report (Form 10-Q)
    (Aug 7, 2009), at 65.
 123 Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2010 and

    2009 (Feb. 28, 2011) [GOLDIN00006898].
 124 See Appendix V.E.5.a (discussing Initial Line of Credit Facility); Appendix V.E.7.a (discussing Second Line

    of Credit Facility); V.E.8.a (discussing A&R Line of Credit Facility).
 125 See Appendix V.E.5.h.(2), (3), (4), (10), (11), (13), (16) (discussing amendments to Initial Line of Credit);

    Appendix V.E.7.h(2), (3), (5), (8) (discussing amendment to Second Line of Credit); Appendix V.E.7.h.(1),
    (5), (7) (discussing amendments to the A&R Line of Credit Facility).

                                                     VII.B-23
12-12020-mg         Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               B Pg 24 of 27




                       Moreover, the evidence reflects that the parties’ performance under the
                       Line of Credit Facilities and the A&R Line of Credit Facility is indicative
                       of a loan. Indeed, in 2011, ResCap repaid approximately $388 million of
                       the advances made under the A&R Line of Credit Agreement.126
                       Thereafter, on two separate occasions, AFI forgave indebtedness totaling
                       $305.9 million under the A&R Line of Credit Facility, consisting of
                       (1) $109.4 million in December 2011, and (2) $196.5 million on
                       January 31, 2012.127 One might argue that advances made subsequent to the
                       debt forgiveness by AFI should be recharacterized as equity because of
                       AFI’s apparent willingness to forgive debt to enable ResCap to remain in
                       compliance with TNW covenants. The extension of credit juxtaposed with
                       contemporaneous debt forgiveness reflects a conflict that may signal a lack
                       of confidence in repayment, thereby suggesting that the advance is an
                       equity contribution in disguise. That argument is not particularly persuasive
                       here because at the time AFI had no reason to suspect that its secured claim
                       under the A&R Line of Credit Facility was less than fully secured.128

                   (3) The presence of an agreed rate of interest and interest payments:
                       Interest on the A&R Line of Credit Loans accrued at a rate of LIBOR +
                       2.75% per annum.129 A specified, agreed upon rate of interest, whether
                       fixed or floating, is indicative of a loan. The evidence reflects that interest
                       payments typically were made.130

                   (4) The source of repayments: The A&R Line of Credit Loans were supposed
                       to be repaid by, among other things, the Liquidity Excess Amount (as
                       defined in the A&R Line of Credit Agreement), which was a function of
                       unencumbered cash available to ResCap. In addition, (1) the A&R Line of
                       Credit Facility was secured by certain liens under the A&R Line of Credit
 126 SeeAlly Financial Inc. Summary of Intercompany Balances with ResCap, ALLY_0182811–819
    [ALLY_0182793].
 127 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010, at EXAM00122689 [EXAM00122651]. The $196.5 million was forgiven in accordance with the terms
    of the January 30 Letter Agreement, pursuant to which AFI agreed to provide capital support to ResCap and
    GMAC Mortgage so that ResCap would meet its obligations under the FRB Order and the DOJ/State AG
    Settlement. Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan. 30,
    2012 [ALLY_0182747].
 128 See Official Comm. of unsecured creditors V. Highland Capital Mgmt. L.P. (In re Moll Indus., Inc.), 454 B.R.

    574, 583–84 (Bankr. D. Del. 2011) (citation omitted) (noting that “it is legitimate for [a pre-existing] lender to
    take actions to protect its existing loans, including extending additional credit or granting forbearance”); see
    also In re Randor Holdings Corp., 353 B.R. 820, 839 (Bankr. D. Del. 2006) (citation omitted).
 129 See Appendix V.E.8.c.

 130 Although  ResCap did not provide monthly interest payment information, ResCap confirmed to the
    Examiner’s Professionals that payments were made on account of interest expense. As such, interest expense
    reported at each year end was assumed to be equivalent to interest payments for the year. Interest payments
    for 2012 were based on interest expense and unpaid interest information provided by ResCap for that year.

                                                      VII.B-24
12-12020-mg        Doc 3698-21         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                             B Pg 25 of 27




                      Security Agreement, and (2) ResCap and the other A&R Line of Credit
                      Guarantors guaranteed the obligations under the A&R Line of Credit
                      Agreement pursuant to an unconditional guarantee that was in form and
                      substance typical for transactions of this nature. The existence of multiple
                      sources of repayment is indicative of a loan.

                  (5) The security for the advances: Pursuant to the A&R Line of Credit
                      Security Agreement, the A&R Line of Credit Borrowers and the A&R Line
                      of Credit Guarantors granted a security interest in favor of AFI, as lender
                      agent, to secure the obligations owed under the A&R Line of Credit
                      Agreement. The presence of such security is generally indicative of a loan.

                  (6) The extent to which the advances were subordinated: Under the A&R
                      Line of Credit Agreement, the advances were not subordinated and the
                      obligations thereunder were secured by the A&R Line of Credit Security
                      Agreement. The lack of subordination is indicative of a loan.

                  (7) The extent to which the advances were used to acquire capital assets:
                      The proceeds from the A&R Line of Credit Loans were used to meet
                      operating needs, which further supports a finding of a loan.

      Based on the foregoing, the Examiner concludes that it is unlikely that an effort to
 recharacterize the AFI Line of Credit Agreement Claims would prevail.

     9. Recharacterization Of The Unsecured Notes And Senior Secured Notes

      In connection with the 2008 and 2009 Bank Transactions, AFI exchanged Unsecured
 Notes and Senior Secured Notes in the face amount of $2.4 billion for ResCap Preferred
 Interests and ResCap’s IB Finance Class M Shares.131 Wilmington Trust has asserted that
 ResCap’s indebtedness evidenced by the Unsecured Notes and Senior Secured Notes should
 be recharacterized as equity because AFI had no expectation of repayment at the time of their
 acquisition in the open market.132 AFI has not asserted a claim for such debt by filing a proof
 of claim or otherwise because the indebtedness was exchanged for ResCap Preferred Interests
 and IB Finance Class M Shares in the 2008 Bank Transaction and the 2009 Bank Transaction,
 respectively, and retired.133 If the Unsecured Notes and Senior Secured Notes are retroactively



 131 SeeSection VI.A.2 (discussing the 2008 Bank Transaction); Section VI.A.3 (discussing the 2009 Bank
    Transaction).
 132 Reply in Further Support of Wilmington Trust, National Association’s Submission to Arthur J. Gonzalez

    dated Mar. 8, 2013, 42–43.
 133 Similarly, AFI has not asserted a claim for any debt under the MSR Facility given that all of such debt was

    forgiven prior to the Petition Date. The Investigation has not disclosed any evidence that suggests that the
    MSR Facility should be recharacterized as debt. See Section V.E.2 (discussing the MSR Facility).

                                                   VII.B-25
12-12020-mg        Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              B Pg 26 of 27




 recharacterized as equity, their transfer by AFI to ResCap as consideration for the 2008 Bank
 Transaction and the 2009 Bank Transaction would not have provided reasonably equivalent
 value and accordingly those transactions may be subject to avoidance on constructive
 fraudulent transfer grounds.

      There is a split of authority in this District as to whether a claim for which a proof of
 claim has not been filed may be recharacterized. According to the court’s decision in In re BH
 S& B Holdings LLC, a proof of claim is a prerequisite to recharacterization.134 According to
 the Court, “[a]s a threshold matter . . . recharacterization require[s] filing a proof of claim: ‘[i]f
 a creditor has not filed a claim, there is nothing to subordinate nor any case or controversy to
 resolve.’”135 The court therefore concluded that recharacterization claims could not be
 sustained against the entities that had not filed proofs of claim where the bar date had
 passed.136

      In the chapter 11 case of Musicland Holding Corp., the court was presented with a
 complaint against Best Buy Co., Inc. alleging that the financing it provided to Musicland
 Holding Corp. was nothing “more than window dressing to cover the return of Best Buy’s
 equity.”137 Indeed, Best Buy “had never imposed any repayment terms” until well after the
 funds had been advanced. Rather than contesting the allegations, Best Buy argued that the
 recharacterization claim should be dismissed because the purported loans had been repaid
 prior to Musicland’s chapter 11 case and Best Buy had not filed a claim. The court, however,
 disagreed and noted that “[t]he recharacterization claim, in this regard, is essentially one to




 134 Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420 B.R.

    112, 154 (Bankr. S.D.N.Y. 2009) aff’d as modified, 807 F. Supp. 2d 199 (S.D.N.Y. 2011). In this decision,
    United States Bankruptcy Judge Martin Glenn held that “recharacterization require[s] filing a proof of claim.”
    Id; see Togut v. RBC Dain Correspondent Servs. (In re S.W. Bach & Co.), 425 B.R. 78, 85 n.5 (Bankr.
    S.D.N.Y. 2010) (Judge Glenn notes that “recharacterization require[s] filing a proof of claim”); see also Gold
    v. Winget (In re NM Holdings Co., LLC), 407 B.R. 232, 289 (Bankr. E.D. Mich. 2009) (concluding that absent
    a proof of claim, “there is no debt to recharacterize”).
 135 In re BH S&B Holdings LLC, 420 B.R. at 154. (citations omitted).

 136 In re BH S&B Holdings LLC), 420 B.R. at 154 (“[The parties had not] filed proofs of claim here and the bar

    date has long since passed. Claims for equitable subordination or recharacterization cannot be sustained
    against them.”).
 137 Responsible  Person v. Best Buy Co., Inc. (In re Musicland Holding Corp.), 398 B.R. 761, 775 (Bankr.
    S.D.N.Y. 2008). The Musicland decision was issued by United States Bankruptcy Judge Stuart M. Bernstein.
    See also Miller v. Dow (In re Lexington Oil & Gas Ltd.), 423 B.R. 353, 378 (Bankr. E.D. Okla. 2010)
    (recharacterizing secured debt that was fully satisfied prepetition as equity and avoiding payments made on
    account of the recharacterized debt as constructive fraudulent transfers).

                                                    VII.B-26
12-12020-mg        Doc 3698-21          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              B Pg 27 of 27




 declare Debt Instruments void, and is integral to the fraudulent transfer claims.”138 Thus, a
 court may conclude that it has the authority to recharacterize a claim that was paid prior to a
 bankruptcy filing.139 The Examiner, however, need not decide whether a court may
 retroactively recharacterize a claim for which a proof of claim has not been filed.

      At the time of their issuance, the Unsecured Notes and Senior Secured Notes were
 undeniably debt. Indeed, no party in interest has contested that fact. Instead, Wilmington Trust
 has argued that certain Unsecured Notes and Senior Secured Notes somehow transformed into
 equity upon their acquisition by AFI, because AFI, allegedly, at that time had no expectation
 of repayment. Such a result would be inconsistent with a recharacterization analysis, which
 examines debt at the time of its issuance.140 Moreover, the Examiner has not found any
 instance in which a court has recharacterized validly-issued debt upon its acquisition by an
 insider. Accordingly, the Examiner believes that there is no basis to recharacterize the
 Unsecured Notes and the Senior Secured Notes used by AFI as consideration in connection
 with the 2008 Bank Transaction and the 2009 Bank Transaction.

              10. Summary Of Examiner’s Conclusions

      For the reasons set forth above, the Examiner concludes that it is unlikely that an attempt
 to recharacterize the A&R Secured Loan Revolver Claim and the AFI Line of Credit
 Agreement Claim reflected in AFI’s proofs of claim would prevail. In addition, the Examiner
 concludes that it is unlikely that an attempt to retroactively recharacterize the debt reflected in
 the Unsecured Notes and Senior Secured Notes held by AFI as equity would prevail.




 138 In re Musicland Holding Corp., 398 B.R. at 775.

 139 The court in Musicland did not recharacterize Best Buy’s claim. Instead, the court denied a motion to dismiss

    the claim holding that the claim should “be read as a claim to avoid the Debt Instruments as fraudulent
    obligations under the fraudulent transfer laws.” Id. at 775 (emphasis added). “Viewing the [recharacterization
    claim] in this light, it states a right to relief under the fraudulent transfer laws . . . .” Id.
 140 See Rockville Orthopedic & Sports Assocs., P.C. v. Kort (In re Rockville Orthopedic Assocs., P.C.), 377 B.R.

    438, 444 (Bankr. D. Conn. 2007) (noting “expectation of repayment is relevant to the nature of the transaction
    only at the time of the transaction”).

                                                    VII.B-27
